                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:09-CR-188
v.                                                    )
                                                      )       COLLIER / LEE
CHRISTINA J. HAYES                                    )
                                                      )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the eight-count

Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in

Count One, that is of conspiracy to manufacture, distribute, and possess with the intent to distribute

five (5) grams or more of actual methamphetamine in violation of 21 U.S.C. §§ 846 and

841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

One, that is of conspiracy to manufacture, distribute, and possess with the intent to distribute five

(5) grams or more of actual methamphetamine in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);

(4) defer a decision on whether to accept the plea agreement until sentencing; and (5) Defendant

shall remain in custody until sentencing in this matter (Court File No. 29). Neither party filed a

timely objection to the report and recommendation. After reviewing the record, the Court agrees

with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

ADOPTS the magistrate judge’s report and recommendation (Court File No. 29) pursuant to 28

U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to the lesser included offense of the charge in Count One,



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            that is of conspiracy to manufacture, distribute, and possess with the intent to

            distribute five (5) grams or more of actual methamphetamine in violation of 21

            U.S.C. §§ 846 and 841(b)(1)(B) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

            in Count One, that is of conspiracy to manufacture, distribute, and possess with the

            intent to distribute five (5) grams or more of actual methamphetamine in violation

            of 21 U.S.C. §§ 846 and 841(b)(1)(B);

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, September 23, 2010 at 9:00 a.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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